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11
12                        UNITED STATES DISTRICT COURT

13                               DISTRICT OF ARIZONA
14
     R. Alexander Acosta,                      )   Case No. CV-16-04499-PHX-DLR
15
        Secretary of Labor,                    )
16      United States Department of Labor, )
17                                             )   FIRST AMENDED COMPLAINT
                          Plaintiff,           )   FOR INJUNCTIVE RELIEF AND
18                   v.                        )   TO RECOVER AMOUNTS DUE
19                                             )   UNDER THE FAIR LABOR
     Arizona Logistics, Inc., , d/b/a Diligent )   STANDARDS ACT (29 U.S.C. § 201
20   Delivery Systems, an Arizona corpora- )       et seq.)
21   tion; Larry Browne, an individual; Parts )
22   Authority Arizona, LLC, an Arizona        )
     limited liability company.                )
23                                             )
24                        Defendants.          )
                                               )
25                                             )
26
27
                                     INTRODUCTION
28

     COMPLAINT FOR VIOLATIONS OF FLSA                               Page 1 of 51
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 1         The Secretary brings this action to secure unpaid wages and damages for
 2   employees who work long hours delivering automotive and truck parts through-
 3   out Arizona. Although these workers are essential to Defendants’ business opera-
 4   tions and are not in business for themselves, Defendants treat their employees as
 5   “independent contractors” who are not entitled to the wages and protections guar-
 6   anteed by the Fair Labor Standards Act. Through this misclassification, Defend-
 7   ants also shift their costs as employers onto these workers, resulting in their em-
 8   ployees improperly bearing the burden of Defendants’ portion of Social Security
 9   contributions, workers’ compensation insurance, and other payroll taxes and costs
10   that an employer is required to pay under relevant law. Defendants’ actions harm
11   not only their own employees but also law abiding employers who face unfair
12   competition in the marketplace by Defendants’ illegal activity. The Secretary
13   thus brings this case to rectify Defendants’ actions with respect to their employ-
14   ees, competitors, and the significant public interests at stake.
15                                       RECITALS
16      1. Plaintiff, R. Alexander Acosta , Secretary of Labor, brings this action to en-
17         join Defendants Arizona Logistics, Inc. d/b/a Diligent Delivery Systems,
18         Larry Browne, and Parts Authority Arizona, LLC, from violating provisions
19         of Sections 15(a)(2) and 15(a)(5) of the Fair Labor Standards Act of 1938,
20         as amended (“FLSA”), 29 U.S.C. §§ 215(a)(2) and 215(a)(5), and to recover
21         amounts owed under the FLSA to employees of Defendants, who, at a min-
22         imum, include the individuals as listed by name in the attached Exhibit A.
23      2. This Court has subject matter jurisdiction under Section 17 of the FLSA, 29
24         U.S.C. § 217; this Court also has subject matter jurisdiction under 28 U.S.C.
25         § 1331 (federal question) and § 1345 (United States as Plaintiff).
26      3. Venue is proper because the actions giving rise to this Complaint took place
27         throughout Arizona.
28                 DEFENDANTS ARE EMPLOYERS UNDER THE FLSA

     COMPLAINT FOR VIOLATIONS OF FLSA                                   Page 2 of 51
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 1     4. Defendant Arizona Logistics, Inc., also known as DSI Arizona, Inc., and
 2        doing business as Diligent Delivery Systems (“Diligent Delivery”) is, and
 3        at all relevant times has been, an Arizona corporation, and is the local divi-
 4        sion of an umbrella group known as Diligent Delivery Systems, a self-de-
 5        scribed nationwide transportation and logistics service provider serving ap-
 6        proximately 68 locations nationwide, including cities in California, Texas,
 7        Michigan, New York, and others. Diligent Delivery maintains its corpo-
 8        rate headquarters at 333 N. Sam Houston Parkway, East, Suite 1000, Hou-
 9        ston, Texas, 77060, with a domestic office located at 3800 N. Central Ave.,
10        Suite 460, Phoenix, Arizona, 85012, within the jurisdiction of this Court.
11        Diligent Delivery also conducts business, including hiring and supervising
12        employees, at Defendant Parts Authority’s warehouses and other customer
13        locations throughout Arizona, including a warehouse located at 2215 W.
14        Fillmore Street, Phoenix, Arizona, 85009, also within the jurisdiction of
15        this Court.
16     5. Defendant Larry Browne owns and controls Defendant Arizona Logistics,
17        Inc., d/b/a Diligent Delivery Systems. He regularly transacts business in
18        Phoenix, Arizona through his ownership and control of Diligent Delivery.
19        For these reasons, among others, the Court has jurisdiction over Mr.
20        Browne.
21     6. Defendant Parts Authority Arizona, LLC (“Parts Authority”), is, and at all
22        relevant times, has been, an Arizona limited liability company with an of-
23        fice and place of business located at 2550 N. Scottsdale Road, Tempe, Ari-
24        zona, 85281, and with several other locations in Phoenix, Mesa, Surprise,
25        and Peoria, each within the jurisdiction of this Court. Parts Authority de-
26        scribes itself as one of the largest distributors of automotive and truck parts
27        in the country.
28     7. In order to complete its delivery services, Diligent Delivery uses drivers as

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 1          an integral part of its business operations (“Driver Employees”).
 2       8. From at least April 2012 to the present, Diligent Delivery has required
 3          Driver Employees to sign “owner operator agreements” and other docu-
 4          ments purporting to classify Driver Employees as “independent contrac-
 5          tors” of Diligent Delivery.
 6       9. From at least April 2012 to the present, Defendant Parts Authority has en-
 7          tered into agreements with Diligent Delivery to have Driver Employees de-
 8          liver Parts Authority’s automotive and truck parts to customers, such as au-
 9          tomotive dealerships and repair shops, throughout Arizona. 1 Upon infor-
10          mation and belief, Diligent Delivery has also entered into agreements with
11          other companies to perform similar delivery services using the Driver Em-
12          ployees.
13       10.As a condition of employment, Diligent Delivery requires Driver Employ-
14          ees to contact Diligent Delivery supervisors each morning to confirm their
15          shift.
16       11. Driver Employees begin their work shift at a warehouse, such as one hous-
17          ing Defendant Parts Authority’s products, to receive delivery assignments
18          and parcels to be delivered that day. Driver Employees then start their des-
19          ignated delivery route, returning to the warehouse numerous times per day
20          to receive additional parcels for delivery. Driver Employees are in contact
21          with both Diligent Delivery supervisors and warehouse dispatchers
22          throughout the day to take directives and receive guidance should delivery
23          or scheduling issues arise.
24       12. As a condition of employment, Diligent Delivery designates a monthly pay
25
26
27
     1
       Upon information and belief, Parts Authority separately employs its own drivers,
     who are classified as Parts Authority employees. These drivers are not presently
28   included in the instant action.

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 1        rate for Driver Employees regardless of hours worked. Driver Employees
 2        are paid by Diligent Delivery headquarters in Houston, Texas, based off of
 3        delivery invoices maintained by Parts Authority and other clients who use
 4        Diligent Delivery services.
 5     13. As a condition of employment, Diligent Delivery requires Driver Employ-
 6        ees to incur costs including, but not limited to: maintaining insurance on
 7        personal vehicles which are used to complete deliveries for Diligent Deliv-
 8        ery; paying for fuel spent to complete these deliveries; paying for multiple
 9        Diligent Delivery uniforms; and incurring a daily “administrative fee” pay-
10        able to Diligent Delivery.
11     14. At all relevant times, Defendant Browne has been acting directly and indi-
12        rectly in the interest of the Diligent Delivery in relation to its employees.
13        He operates and controls Diligent Delivery; established the employment
14        structure designed to treat Driver Employees as independent contractors;
15        establishes and enforces the policies that set Driver Employees’ wages,
16        hours, and working conditions, including the necessary terms in the “owner
17        operator agreements” to which all Driver Employees must agree as a condi-
18        tion of employment; and oversees operations. Mr. Browne is, therefore, an
19        employer within the meaning of FLSA section 3(d), 29 U.S.C. § 203(d).
20     15.Browne controls the relationship between Diligent Delivery and Driver
21        Employees and caused the FLSA violations in this case. For instance,
22        among other things, Browne is the 100% owner of Diligent and over many
23        years created the business model of improperly characterizing Drivers as
24        “independent contractors.” The model improperly shifts Diligent Deliv-
25        ery’s costs as an employer to Driver Employees, resulting in Driver Em-
26        ployees improperly bearing the burden of Defendants’ portion of payroll
27        taxes, workers compensation insurance, vehicle insurance, and vehicle ex-
28        penses, among other costs. This cost shifting causes Driver Employees to

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 1        earn as little as less than $1 per hour.
 2     16. Browne maintains ultimate authority and control over Diligent Delivery’s
 3        Arizona operations and business decisions. For example, among other
 4        things, he approves the terms of each contract signed with Arizona clients.
 5        Browne has also negotiated and signed some client contracts which in-
 6        cluded a driver code of conduct setting out the rules for Driver Employees
 7        to follow. Browne maintains the power to hire and fire Arizona employees,
 8        including Drivers, and determines Client and Driver rates.
 9     17. Defendants, acting as agents for one another, performed all aspects and du-
10        ties of employment. Defendants, individually and jointly, serving as agents
11        for one another, controlled the material aspects of the employment relation-
12        ship with Driver Employees including: hiring, firing, setting work sched-
13        ules, assigning work, assigning Driver Employees to work locations, and
14        preparing and maintaining pay records.
15     18. Defendants designed and maintained an employment structure with each
16        entity serving the interests of and/or acting as an agent for the other.
17        Through their actions, Defendants actively sought to confuse Driver Em-
18        ployees and conceal from them the basic facts concerning their status and
19        rights as employees, including the protections guaranteed by the FLSA.
20     19. By misclassifying Driver Employees as independent contractors, Defend-
21        ants shifted their costs as employers onto the Driver Employees. The re-
22        sulting costs – of the employer’s share of Social Security contributions,
23        workers’ compensation insurance, uniforms, fuel, among others – consti-
24        tute illegal deductions from the Driver Employees’ wages.
25     20. Through these actions, Defendants were depriving, interfering, and imped-
26        ing the ability of the Driver Employees, and derivatively, of the Secretary
27        of Labor, to detect the basic circumstances of their employment, and dis-
28        couraging, punishing, and coercing them from exercising their rights as

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 1        employees under the FLSA.
 2     21.The economic realities of the employment relationship between Driver Em-
 3        ployees and Defendants establish that each Defendant is an “employer”
 4        within the meaning of FLSA Section 3(d), 29 U.S.C. 203(d), and together
 5        served as a team of co-employers. As such, Defendants are liable for all
 6        back wages due to the Driver Employees for the relevant time period of at
 7        least April 2012 to the present.
 8
 9         DEFENDANTS’ EMPLOYEES ARE ENTITLED TO THE WAGES
10                      AND PROTECTIONS OF THE FLSA
11     22. Defendants’ activities constitute and at all relevant times have constituted
12        related activities performed through unified operation or common control for
13        a common business purpose, and are and at all relevant times have been an
14        “enterprise” as defined in FLSA § 3(r), 29 U.S.C. § 203(r).
15     23. Driver Employees were or are engaged in commerce and/or in handling or
16        working on goods that had been moved in commerce, as they regularly han-
17        dle goods that had or have been shipped from places outside of the state of
18        Arizona. Defendants’ enterprise has, and at all relevant times has had, an
19        annual gross volume of sales made or business done of no less than
20        $500,000.00, and said enterprise constitutes, and at all relevant times has
21        constituted, an “enterprise engaged in commerce or in the production of
22        goods for commerce” as defined by FLSA § 3(s), 29 U.S.C. § 203(s). As
23        such, Driver Employees are covered by the FLSA, including its wage,
24        recordkeeping, and anti-discrimination provisions.
25                        DEFENDANTS VIOLATED THE FLSA
26     24. Defendants have willfully and repeatedly violated the provisions of Sec-
27        tions 6 and 15(a)(2) of the FLSA, 29 U.S.C. § 206 and § 215(a)(2), when
28        the illegal deductions made from the wages of Driver Employees for the

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 1        employers’ share of Social Security contributions and other costs reduced
 2        Driver Employees’ hourly rate below the federal minimum wage of $7.25
 3        per hour.
 4     25. Defendants have willfully and repeatedly violated the provisions of Sec-
 5        tions 7 and 15(a)(2) of the FLSA, 29 U.S.C. § 207 and § 215(a)(2), because
 6        they failed to pay the Driver Employees at a rate of time and one half the
 7        employees’ regular rate for hours worked over 40 in a workweek. Driver
 8        Employees routinely worked over 40 hours per week, were paid a flat rate,
 9        and were not paid an overtime premium for excess hours worked over 40 in
10        a workweek.
11     26. Defendants have willfully and repeatedly violated the provisions of Sec-
12        tions 11(c) and 15(a)(5) of the FLSA, 29 U.S.C. § 211(c) and § 215(a)(5),
13        by failing to maintain, keep, and preserve records of employees and of the
14        wages, hours, and other conditions and practices of employment main-
15        tained, as prescribed by the regulations promulgated by the Secretary pur-
16        suant to the authority granted in the FLSA and published in the Federal
17        Register and known as Title 29, Code of Federal Regulations, Part 516.
18        Defendants misclassified Driver Employees as independent contractors and
19        failed to keep time records that would show adequately and accurately,
20        among other things, the hours worked by Driver Employees each workday,
21        the total hours worked each workweek, the deductions from their wages for
22        the employers’ costs and the amount paid, thereby depriving, interfering
23        and impeding the ability of Driver Employees, and derivatively, of the Sec-
24        retary of Labor, to detect, identify and have notice of the underpayment of
25        minimum and overtime wages due under the FLSA.
26     27. Defendants have willfully and repeatedly violated the provisions of Sec-
27        tion 15(a)(3) of the FLSA, 29 U.S.C. § 215(a)(3), by depriving, interfering
28

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 1         and impeding the ability of Driver Employees, and derivatively, of the Sec-
 2         retary of Labor, to detect the basic circumstances of their employment and
 3         of their rights as employees under the FLSA, including the right to notify
 4         the Secretary of Labor of FLSA violations.
 5      28. By the actions described above, Defendants have repeatedly and willfully
 6         violated, and are violating, the above-described provisions of the FLSA
 7         during the relevant statutory period.
 8
 9         WHEREFORE, cause having been shown, the Secretary prays for a judg-
10   ment against Defendants as follows:
11               A.     (i) For an Order pursuant to Section 17 of the FLSA, 29 U.S.C.
12         § 217, permanently enjoining and restraining Defendants, their officers,
13         agents, servants, and employees, and those persons in active concert or par-
14         ticipation with them, from prospectively violating the provisions of Sections
15         15(a)(2), 15(a)(3), and 15(a)(5) of the FLSA, 29 U.S.C. §§ 215(a)(2),
16         215(a)(3), and 215(a)(5); and
17               B.     For an Order
18               (i) pursuant to FLSA § 16(c), 29 U.S.C. § 216(c), finding Defendants
19         liable for any unpaid minimum wage and overtime compensation during
20         the relevant time period that may be found by the Court to be due under the
21         FLSA, plus an additional amount as and for liquidated damages, equal to
22         any back wages found to have accrued under the FLSA, to present and for-
23         mer employees of Defendants, including, at a minimum, the persons listed
24         by name on the attached Exhibit A; or
25               (ii) in any instances where liquidated damages are not awarded
26         herein, restraining, pursuant to FLSA § 17, 29 U.S.C. § 217, Defendants,
27         their officers, agents, servants and employees and all persons in active con-
28         cert or participation with them, from continuing to withhold the payment of

     COMPLAINT FOR VIOLATIONS OF FLSA                                 Page 9 of 51
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 1         any unpaid minimum wage and overtime compensation that may be found
 2         by this Court to have accrued under the FLSA to present and former em-
 3         ployees of Defendants, including, at a minimum, the persons listed by
 4         name on the attached Exhibit A, plus pre-judgment interest thereon; and,
 5               D. Awarding the Secretary of Labor the costs of this action; and,
 6               E. Providing such further legal and equitable relief as may be
 7         deemed appropriate, including equitable tolling of the applicable three-year
 8         statute of limitations to redress interference with, or delayed detection of,
 9         the violations of the FLSA by the Secretary due to Defendants’ actions to
10         confuse their workers as to their status as employees protected by the
11         FLSA and/or to intimidate or coerce them from exercising their rights and
12         status as an employee, and failure to maintain complete, accurate or full
13         records as required by 29 U.S.C. §§ 211(c) and 215(a)(5) of the FLSA.
14
15                                          Respectfully submitted,
16   Dated: April 5, 2019
                                            Kate S. O’Scannlain
17                                          Solicitor of Labor
18
                                            Janet M. Herold
19                                          Regional Solicitor
20
21                                          Marc A. Pilotin
                                            Counsel for Wage and Hour Litigation
22
23                                          __/s/ Boris Orlov_____________
                                            Boris Orlov, Senior Trial Attorney
24                                          Grace A. Kim, Senior Trial Attorney
25                                          M.J. Cristopher Santos, Trial Attorney
                                            Attorneys for the Plaintiff
26
                                            U.S. Department of Labor
27
28

     COMPLAINT FOR VIOLATIONS OF FLSA                                 Page 10 of 51
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 1                               THIRD AMENDED EXHIBIT A2
 2
 3                 1    TARI                         (RON LITTLE)

 4                 2    OMID                         ABDOULI
                   3    AZAT                         ABDULAMEER
 5                 4    JASON          ALBERTO       ABRIL

 6                 5    JASON                        ABRIL
                   6    CASSIM         VUNI          ABUCHA
 7                 7    SAMANTHA                     ACEVEDO

 8                 8    DANNY          BRIAN         ACHENBACH
                   9    DANNY                        ACHENBACK
 9                 10   JERRION        TIMELL        ACLES
10                 11   JERRY                        ACLES               JR
                   12   JESUS          FRANCISCO     ACOSTA
11                 13   EDMUNDO        V             ACOSTA
12                 14   RAMON          M             ACOSTA
                   15   FOREST         RYAN          ACUFF
13
                   16   NORBERT        MAR           ACUNA
14                 17   MARQU'IS                     ADAM
                   18   DEBORAH        LOUISE        ADAMS
15
                   19   MARQU'IS       TRAYON        ADAMS
16                 20   STEVEN         M             ADLEAN
                   21   EDNA           PATRICIA      ADOLFO
17
                   22   DAVID          CHRISTOPHER   AGUILAR
18                 23   MARIANO                      AGUILAR
                   24   ROBERTO        E             AHUMADA
19
                   25   ROBERTO                      AHUMADA
20                 26   MUHAMMAD       ATHAR         AKHTAR

21                 27   ALI                          ALABDULLAH
                   28   DANIEL                       ALAMILLA
22                 29   LAURELIO                     ALCAIDE             IV

23                 30   ANDRES                       ALDERETTE
                   31   ZAID                         ALDOORI
24                 32   RICHARD                      ALDRICH
25                 33   LEANDRO                      ALITAGTAG
                   34   ZAKONYA        A             ALLEN
26                 35   DAVID          GERALD        ALLEN
27
28        2
              Pursuant to Docket. 108 and 109.

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                36   FREDERICK     L             ALLEN
 1
                37   MARVIN        R             ALLEN
 2              38   DAVID                       ALLEN
                39   FREDERICK                   ALLEN
 3
                40   MARVIN                      ALLEN
 4              41   RAQUEL        RAMOS         ALONSO             II
                42   ALEX                        ALTAMIRANO
 5
                43   ISAI          URRCA         ALTERES
 6              44   EVELIA                      ALTERES MIRANDA

 7              45   RUBICELIA                   ALTERES MIRANDA
                46   ROBERTO       MIGUEL        ALVARADO JR
 8              47   JULIO         CESAR         ALVAREZ ROBLES

 9              48   HAIDER                      AL-WAHABI
                49   ISAM          ABDULLAH      ALWAN AL BADRI
10              50   LUIS          MIGUEL        AMAYA

11              51   JUAN          LUIS          AMAYA-OCHOA
                52   ANTHONY       JOE           ANAYA JR
12              53   BRANDON       TERRELL       ANDERSON
13              54   STACY                       ANDERSON
                55   JOHNNIE       ALVIN         ANDERSON
14              56   TERRANCE                    ANDERSON
15              57   JESUS         A             ANDRADE BERNAL
                58   LESTER        LEO           ANDREWS
16
                59   LEO           SYLVESTER     ANDREWS
17              60   DERRICK       DWAYNE        ANDREWS
                61   WILLIAM       MANUEL        ANGUIZ
18
                62   FELIPA                      APOLINAR
19              63   SEAR                        AQUANETTA
                64   JOSHUA        MALLIDA       ARAMBULA
20
                65   DAVID         LAWRENCE      ARANDA
21              66   LEO           S             ARCHULETA

22              67   LISHELLE      MARIE         ARELLANO
                68   AVI                         ARGUSTA
23              69   ANDY                        ARLISON

24              70   JAVIER        SOTO          ARMIJO
                71   HOLLY         LYNN          ARNOLD
25              72   ROY           LUIS          AROS

26              73   MARIBEL                     ARROYO
                74   ANN           L             ARTISHON
27              75   GUOT          KEN           ARUO
28              76   BRENTEN       AUGUSTUS      ASHLEY



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                 77   LAUREN       ELISA            ASHLEY
 1
                 78   CYRUS                         ASHTON
 2               79   RICHARD                       ATCHLEY
                 80   DEREK        B                AULTMAN
 3
                 81   ROBERT       EDWARD           AVEY
 4               82   NOLBERTO                      AVILA
                 83   JOSE                          AVILA                JR
 5
                 84   JOE                           AVILA
 6               85   DANIEL                        AVILA

 7               86   OSCAR        MARIO            AYALY
                 87   MICHAEL      CHRISTIAN        AYCOCK
 8               88   TRAVION                       AYERS

 9               89   TRAVION                       AYERS
                 90   JOHN         F                BACHAR
10               91   RASHEED                       BADEER

11               92   DAVID        L                BAILEY
                 93   CAROL        BARBARA          BAILEY-GARCIA
12               94   CAROL                         BAILEY-GARCIA
13               95   JOHN         CHARLES          BAKER
                 96   OLIVIA                        BALLARD
14               97   BRANDIE      LYNN             BARACANI
15               98   BRANDIE                       BARACANI (JOHN)
                 99   DANIEL       EDWARD           BARANOWICZ
16
                100   ROBERT       ALLEN            BARBER
17              101   PHILIP       AARON            BARCLAY              II
                102   MICHAEL      JOSEPH           BARNES
18
                103   BRANDON      T                BARNES
19              104   MIKE                          BARNES
                105   JAMES                         BARNES
20
                106   JESUS        ANTONIO-ZARATE   BARRAZA
21              107   CLAUDIA      IVETTE           BARRAZA

22              108   JESS                          BARRAZA
                109   LUIS         C                BARRERA
23              110   MARCO        A                BARRIOS

24              111   PATRICIA                      BARRIOS
                112   JULIO        CESAR            BARRON RODRIGUEZ
25              113   JULIO        CESAR            BARRON RODRIGUEZ

26              114   LARRY        JOSEPH           BARTHELETTE
                115   SHIRLEY                       BASHAM
27              116   CHEDID                        BASHIR
28              117   JAMIE        M                BASS



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                118   LUIS         WALTER        BATEMAN
 1
                119   LOUIE                      BATEMAN
 2              120   MICHAEL      ANTHONY       BATTLE
                121   MICHEAL                    BATTLE
 3
                122   ROBERT       RICHARD       BAUGHMAN
 4              123   RICHARD      D.            BAXTER
                124   ANDREW       FERNANDO      BAZAN
 5
                125   MORGAN       S             BEATTY
 6              126   SANDRA       NOHEMI        BECERRA

 7              127   KIMBERLY     DORNAE        BECTON
                128   JASON                      BEGAY
 8              129   MANUEL       RAYMON        BELLO

 9              130   HARVEY       HERBEY        BEN
                131   SEAN                       BENAK
10              132   ANDREW                     BENEDICT

11              133   RUSSELL      W             BENFIELD
                134   RUSSELL                    BENFIELD
12              135   ANDREA       LEIGH         BENGE
13              136   ANDERA                     BENGE
                137   MOSELEY      SR            BENJAMIN
14              138   LUIS         FERNANDO      BERNAL
15              139   MELISSA                    BETANCOURT           JR
                140   BRINDA                     BETTS
16
                141   ERIC         MICHAEL       BEVERLY
17              142   DALTON       CHARLES       BISEL VENEGAS
                143   BRIAN        ALAN          BISHOP
18
                144   ROY          CLAYTON       BISHOP
19              145   DALE         WENDELL       BLAKE
                146   VICKY                      BLAYLARK
20
                147   HARRY                      BLOHM
21              148   BRYAN        DAVID         BLUDER

22              149   JASON                      BLUE,
                150   TWYLA                      BOATLEY
23              151   CID          F             BOBADILLA

24              152   QUINN        TREMAYNE      BOGAN
                153   MARIE        KIVA          BOGAN
25              154   QUINN                      BOGAN

26              155   JOSEPH       L             BOGGS
                156   MICHAEL      WILLIAM       BOHLS
27              157   DANIEL       L             BOJORQUEZ
28              158   ISAAC                      BONILLA              JR



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                159   XAVIER       SHANTRELLE    BONNER
 1
                160   RAMON                      BOOTH
 2              161   COREY        CRAIG         BORKOWSKI
                162   JAMES        DANIEL        BOWEN
 3
                163   JAMES        DENNIS        BOWER                SR
 4              164   JOHN         REECE         BOWMAN
                165   KEYANA       BRINIQUE      BOX
 5
                166   KEYANA                     BOX
 6              167   JERRY        LEE           BRAGGS

 7              168   DENNY        EDWARD        BRANDON              SR
                169   MICHAEL      PAUL          BRANDT
 8              170   MICHAEL                    BRANDT

 9              171   DESPOT                     BRANISLAV
                172   PANTALEON    RAMOS         BRAVO
10              173   PHILLIP                    BRAVO

11              174   ANDREW       NICHOLAS      BRIGGS
                175   JOURNEY      VKYE          BRIGHAM
12              176   JOURNEY                    BRIGHAM
13              177   JONATHAN     EUGENE        BROOKS
                178   RUSSELL      WARREN        BROOKS
14              179   JONATHAN                   BROOKS
15              180   RUSSELL                    BROOKS (JOHN)
                181   RUSSELL                    BROOKS (OSVALDO)
16
                182   DAVID        LEONARD       BROUDY
17              183   SERGIO       DELOVE        BROWN
                184   LARRY        EVERETT       BROWN
18
                185   JAMES        KEITH         BROWN
19              186   CRYSTAL                    BROWN
                187   RYAN                       BROWN
20
                188   WESLEY                     BROWN
21              189   EVELYN       E             BROWN

22              190   LAMARIO      ANTONE        BROWN
                191   TORREY       EMON          BROWN
23              192   BRIAN        D             BUCKENDORF

24              193   BRIAN                      BUCKENDORF
                194   SAMANTHA     CORRIN        BUDA
25              195   RICHARD      MARTIN        BUNDRICK

26              196   MATTHEW      PHILLIP       BURCH
                197   BLANCA                     BURKE
27              198   CONRAD                     BURLESON
28              199   EARL         BRIEN         BURNETT



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                200   EARL                       BURNETT
 1
                201   LAMAR        JAMES         BURNLEY
 2              202   PATRICIA     ANN           BURNS
                203   STEPHEN      O'BRIAN       BURTON
 3
                204   JUSTIN       TYLER         BUSSELL
 4              205   DERRICK      DEMETRIOUS    BUTLER

 5              206   KALIGITO     FELIX         BUTROS
                207   CLINTON      DARNELL       BUYCKS
 6              208   KENNETH      N             BYINGTON

 7              209   LARRY        WAYNE         BYRD
                210   JOSE         ROBERTO       CABRAL
 8              211   THOMAS       A             CADDEN

 9              212   AMANDA       JENE          CAGGIANO
                213   FRANCISCO    JAVIER        CAICEDO
10              214   TONY         PATRICK       CALISTRO LEON
11              215   DUWAN        JAMAR         CALVIN
                216   DANA         LOUIS         CALVIN
12              217   DUWAN                      CALVIN
13              218   GIOVANNI                   CALVIZ
                219   JUAN         MANUEL        CAMBA                JR
14
                220   TROY         N             CAMPBELL
15              221   LEE          BEVEN         CANNON
                222   JOHN                       CANSONETTA
16
                223   FREDDIE                    CANTU
17              224   JOHN         PETER         CANZONETTA
                225   JOSEPH       MICHAEL       CARARA
18
                226   JASON                      CARDENAS
19              227   ALANSSSSSS                 CARDENAS
                228   ARTURO                     CARDENAS
20
                229   ALAN         HUMBERTO      CARDENAS RAMIREZ
21              230   WILLIAM      TERRENCE      CARLTON

22              231   WILLIAM                    CARLTON
                232   CINTHIA      DEL           CARMEN
23              233   ARMANDO      V             CARMONA

24              234   STEVE        ALAN          CARPENTER
                235   JESUS        E             CARRILLO BANUELOS
25              236   MICHAEL                    CARRILO GUZMAN
26              237   JULIE        MARIE         CARTER
                238   JUAN         ROBERTO       CASAREZ
27              239   JUAN                       CASAREZ
28              240   CARLOS                     CASAREZ



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                241   ALEJANDRO                  CASTELLANOS
 1
                242   CESAR         ALBINO       CASTILLO
 2              243   JOSE          LUIS         CASTRO
                244   MOISES        MARTIN       CASTRO
 3
                245   ANTONIO       TORRES       CASTRO             JR
 4              246   ANTONIO                    CASTRO

 5              247   HECTOR        M.           CAVAZOS
                248   AARON         T            CAYTON CHIRINOS
 6              249   ERLICH        DELAIN       CAZARES

 7              250   ESTEBAN       HUMBERTO     CAZARES
                251   YESENIA                    CAZARES
 8              252   OSCAR                      CAZAREZ-ACOSTA

 9              253   GRACIELA      DIARTE       CEBALLOS
                254   CURTIS        LEE          CEPHUS
10              255   HECTOR        HUGO         CERVANTES
11              256   MIGUEL        OSWALDO      CERVANTES
                257   HECTER                     CERVANTES
12              258   MARTIN                     CERVANTES
13              259   NICHOLE                    CHACON RESENDIZ
                260   JUDITH                     CHALUPP
14
                261   ANTWAIN       M            CHAMBERS
15              262   AXEL          A            CHAVEZ
                263   JOHNNY        R            CHAVEZ
16
                264   EMILIANO      JOAQUIN      CHAVEZ CALDERON
17              265   YERANIA       M            CHAVEZ RUIZ
                266   BASHIR        P            CHEDID
18
                267   BASHIR                     CHEDID
19              268   BALBANEDA                  CHIAPA
                269   MOISES                     CHIRINOS
20
                270   HALINA        C            CLARK
21              271   HALINA                     CLARK

22              272   RICK          ALLEN        CLAUSEN
                273   RICK                       CLAUSEN
23              274   THOMAS        FRANCIS      CLEARY

24              275   THOMAS        D            CLIFFORD
                276   TERRY                      CLIMONS
25              277   JOHN                       CLYDE
26              278   CHRISTOPHER                COBBS
                279   GLENN         STEVEN       COLBERT
27              280   GLEN                       COLBERT
28              281   CHRISTOPHER   TAYLOR       COLE



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                282   CHRIS                      COLE
 1
                283   DAEVON        LAMONT       COLES
 2              284   ANTHONY       MARK         COLLAY
                285   ELIEZER       RODRIGUEZ    COLLAZO              JR
 3
                286   BRIAN         DAVID        COLLINS
 4              287   CHRISTOPHER                CONDON

 5              288   XAVIER        MINJAREZ     CONEJO
                289   MARCUS                     CONSTANTIN
 6              290   MAUD          AURORA       CONTRERAS

 7              291   LUCIANO       CHANO        CONTRERAS
                292   RICHARD       JUNIOR       CONTRERAS
 8              293   JEANETTE      LEE          CONTRERAS

 9              294   DEAN          OSCAR        CONTRERAS
                295   MONICA                     CONTRERAS
10              296   DELANO        GOLDIE       COOK
11              297   STUART        MICHAEL      COOK
                298   LISA          MARIE        COOKE
12              299   JAMES         PAUL         COOPER
13              300   JAMES         FREDERICK    COPELAND
                301   MARGARET      KRISTINE     COPUS
14
                302   MAGGIE                     COPUS
15              303   ALEXANDER     CASTRO       CORDOVA
                304   STEVEN        D            CORNELL
16
                305   JOEL                       CORONA
17              306   JOHN          ADAM         CORONADO
                307   JUAN          ANTONIO      CORONADO
18
                308   RAYMOND       JESUS        CORONADO
19              309   GABRIEL       ANTONIO      CORRAL
                310   LUIS                       CORRAL CHAVEZ
20
                311   LUIS          FRANCISCO    CORRAL CHAVEZ
21              312   ROBERTO       A            CORRALES

22              313   RICARDO       LAPRADA      CORRALES
                314   JUAN          CARLOS       CORTES
23              315   CARLOS        ALFREDO      COSTA

24              316   ANTHONY       JASON        COTE
                317   WAYNE         MICHAEL      COTTON FLORES
25              318   MATTHEW       JOSEPH       COUZENS
26              319   MICHAEL       ANTHONY      COX
                320   OSBORNE                    COX
27              321   ADAM          MITCHELL     COX
28              322   GARY          WAYNE        COX                  JR



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                323   TYLER         GAGE         CRAMER
 1
                324   JOHN          PAUL         CRANDELL
 2              325   COLTON        PHILLIP      CREELMAN ULMER
                326   JORGE         ANTONIO      CRESPO
 3
                327   KEVIN                      CRISWELL
 4              328   CHRISTOPHER                CROFT
                329   JANICE        LYNN         CROMER
 5
                330   CAMERON       JAMES        CROWLEY
 6              331   CAMERON                    CROWLEY

 7              332   CHARLES                    CROXEN
                333   RICHARD                    CRUISE
 8              334   CESAR                      CRUZ

 9              335   LUIS          ALBERTO      CUERVO
                336   HERMINO                    CUEVAS            JR
10              337   JADRIAN       DONTAE       CUMMINGS

11              338   MICHAEL       EDWARD       CUNNINGHAM
                339   SHAWNA        M            CUSHWAY
12              340   ERIC                       CUTLER
13              341   CHRISTIAN     FINCH        CUTLIP
                342   ANEL                       CUTUK
14              343   ELIZABETH                  DANIELS
15              344   BRIAN         RUSSELL      DANIELS
                345   JAVON         DAMEON       DANIELS
16
                346   SALMAN        D            DAOUD
17              347   GIBSON        YAW          DARKO
                348   GIBSON                     DARKO
18
                349   SHEREE        IKAPELIA     DASILVA
19              350   JIMMY         WAYNE        DAVENPORT
                351   DON           CLAY         DAVIDSON
20
                352   DON                        DAVIDSON
21              353   STEVE                      DAVIDSON

22              354   CARL          DUANE        DAVIS
                355   CHRISTOPHER   MICHAEL      DAVIS
23              356   JEVON         RAY          DAVIS             JR

24              357   DANIEL                     DAVIS
                358   LOUIS                      DAVIS             III
25              359   WILL          DEVEL        DAVIS             III

26              360   INEASHA       L            DAY
                361   INEASHA                    DAY (MARK)
27              362   CAIN          PENA         DE
28              363   PAUL          MICHAEL      DE FRANCO



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                364   JOSE                       DE JESUS
 1
                365   GABRIEL                    DE LA CRUZ
 2              366   IRINEO                     DE LA CRUZ
                367   JAMES        NICHOLAS      DEHERRERA
 3
                368   ERNEST       A.            DEL
 4              369   MIGUEL       ANGEL
                                                 DEL TORO
                                                 CONTRERAS
 5              370   LETICIA                    DELEON,
                371   OSCAR        RAMIREZ       DELGADO PRETE
 6
                372   JAMEL                      DENNIS
 7              373   DUSTIN                     DERICHS
                374   ALICIA       LEANN         DEROSS
 8
                375   MARQUIS      BILLY         DESHAUN
 9              376   ALLEN        LEKESTON      DEWAUN
                377   KALIFA       CAIRO         DIAZ
10
                378   EDUARDO      E             DIAZ
11              379   HECTOR       EDUARDO       DIAZ

12              380   GERMAN       MAURICIO      DIAZ CABRERA
                381   JUSTO        GAMALIEL      DIAZ CONWAY
13              382   WESTLEY      JAMES         DICKINSON

14              383   SHELDON      DANDRE        DINSMORE
                384   SCOTT        M             DIVINE SALCEDO
15              385   DAWN         MARIE         DOMINE
16              386   ALBERTO      RAMIREZ       DOMINGUEZ
                387   SANDRA       RODRIGUEZ     DOMINGUEZ
17              388   LUPE                       DOMINGUEZ
18              389   GUADALUPE                  DOMINGUEZ
                390   JASON        DAVID         DONEFF
19              391   LEWIS        WILLIAM       DRASH
20              392   LEWIS                      DRASH
                393   KIRK         ANTHONY       DUNBAR
21
                394   SUMMER       LEE           DUNN
22              395   JAMAL        RAY           DUNN
                396   SUMMER                     DUNN
23
                397   EDWARDO      ANTONIO       DURAN
24              398   XAVIER       DANIEL        EDWARDS
                399   XAVIER                     EDWARDS
25
                400   NICOLE       CAMILLE       EISMANN-CRUMP
26              401   DARRIS       SEAN          EL LEONARDO BYRD

27              402   ANDREW       THOMAS        ELIZALDA
                403   DALLAS                     ELROD
28

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                404   SEAN         DUANE         EMBURY
 1
                405   JAMES        WILLIAM       EMERY
 2              406   RYNE         EDWARD        ENCARNACION
                407   RYNE                       ENCARNACION
 3
                408   LOUIS        E             ENCINIAS
 4              409   DYLAN                      ENGEL
                410   FRANCISCO    A             ESCALANTE
 5
                411   JUSTIN                     ESCALERA
 6              412   JOHN                       ESCANDON

 7              413   JOSE         ANGEL         ESCOBAR
                414   MIGUEL       ANGEL         ESCOBAR
 8              415   FERNANDO                   ESCOBAR            JR

 9              416   BILLY        M             ESCOBAR LUCERO
                417   ARNOLD       JUAREZ        ESLAVA
10              418   VANESSA                    ESPARZA

11              419   GERARDO      GARCIA        ESPERO
                420   GUILLERMO    RAMIREZ       ESPINDOLA
12              421   MARK         ANTHONY       ESPINOZA
13              422   LEONEL                     ESPINOZA
                423   ROBERT                     ESPINOZA
14              424   PATRICIA                   ESPINOZA
15              425   JOE          ANTHONY       ESTAVILLO
                426   MARTIN                     ESTAVILLO
16
                427   RICHARD      ANTHONY       ESTRADA
17              428   MANUEL                     ESTRADA
                429   OSCAR                      ESTRADA
18
                430   KEVIN        LEE           EVANS
19              431   JESSIKA      TIKI          EVANS
                432   REX          EMMANUELLE    FAULKNER
20
                433   REX                        FAULKNER FLORES
21              434   MICHAEL      ANGEL         FAVELA

22              435   JAMES        SALVATORE     FEDERICO
                436   RONALD       DAVID         FELIX
23              437   TYLER        BLAKE         FELTON

24              438   GARRY        ANTWANN       FIELDS
                439   MIKE         A             FIERRO
25              440   LINETT       MORALES       FIGUEREDO

26              441   RICHARD      A             FIGUEROA
                442   RAQUEL                     FIGUEROA
27              443   LEONEL                     FIGUEROA
28              444   ANGEL        GERARDO       FILIPPINI



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                445   MARC          EDMOND       FINCH
 1
                446   ALAN          W            FINCH
 2              447   MARK                       FINCH (AL)
                448   MATEO         DANNY        FITIVALE
 3
                449   GIRALDO       MARERO       FLEITES              JR
 4              450   GREGORY       D            FLETCHER
                451   CHRISTOPHER   L            FLOOD
 5
                452   GERARDO       SIERRA       FLORES
 6              453   JOSE                       FLORES

 7              454   GERARDO                    FLORES
                455   RAYLYN        JENEAN       FLOWER
 8              456   JOSEPH        JAMES        FOBIA

 9              457   SHAUN         M            FOLDEN
                458   CHAD                       FOLEY
10              459   BRIAN                      FORAN

11              460   DANIELLE      MARIE        FORBIS
                461   DANIELLE                   FORBIS
12              462   DEAN          KURT         FORCINE
13              463   VINCENT       ISAAC        FORD
                464   VINCENT                    FORD (ANDREW)
14              465   VINCENT                    FORD (JAMEL)
15              466   BILLY         JOE          FORDYCE
                467   RAMONA        FAYE         FORE
16
                468   DAVID         KENNETH      FOSSDAL
17              469   DAVE                       FOSSDAL
                470   ADAM          J            FOSTER
18
                471   CLAUDE        PATRICK      FOSTER
19              472   ASHLEY        LEIGH        FOWLER
                473   DELANO        RICARDO      FOWLKES
20
                474   DAVID         ALONSO       FRAGOSO
21              475   DEVIN                      FRANCIS

22              476   KEVIN         MICHAEL      FRANKLIN
                477   LASHAWN       ANTOINE      FRANKLIN
23              478   MICHAEL                    FRASSRAND

24              479   ARTHUR        BRIAN        FREUND
                480   JOEL          ROSS         FRIGILLANA
25              481   STARR         MAIUU        FUIMAONO             JR

26              482   DAVID         LEE          FULLER
                483   LALITA        DEVONNE      FULSON
27              484   HUBERT        G            FULTZ
28              485   JEFFERY       ADAM         GABRIEL



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                486   JUSTIN       BRADY           GAFFNEY
 1
                487   ALFREDO                      GALARZA
 2              488   ADRIAN       GARCIA          GALAVIZ
                489   ENRIQUE                      GALAVIZ              JR
 3
                490   DANIEL       CANTU           GALAZ                JR
 4              491   RICARDO      D               GALBISCO             JR

 5              492   EDDIE                        GALINDO
                493   SHANNON      TONI            GALLEGOS
 6              494   MOISES       A               GAMEZ

 7              495   ROBYN        ELIZABETH       GAMINO
                496   VICTOR       M               GAMINO
 8              497   SHANNON      MICHELE         GAMINO

 9              498   BRIDGET      MARYE           GANGE
                499   SANTIAGO     A               GARCIA
10              500   NARCISO      A.              GARCIA
11              501   WALTER       H               GARCIA
                502   JUAN         J               GARCIA
12              503   EDGAR        LEDEZMA         GARCIA
13              504   MAXIMINA     PENA            GARCIA
                505   JESUS        V               GARCIA
14
                506   RODOLFO                      GARCIA
15              507   RODOLFO                      GARCIA
                508   EDGAR                        GARCIA BARRERA
16
                509   SOFIA                        GARCIA GALLARDO
17              510   SOFIA        MARGARITA       GARCIA GALLARDO
                511   ADRIAN                       GARCIA HERNANDEZ
18
                512   VERONIKA                     GARCIA LOAIZA
19              513   MAYBEL       IRAIS           GARCIA PICHS
                514   JOSE         GABRIEL         GARCIA-MINJAREZ
20
                515   NATHANIEL    XAVIER          GARCIA-RODRIQUEZ
21              516   DAVID        LAWRENCE        GARDNER

22              517   NORMA        GREGORIA        GARZA
                518   ANTHONY      MORALES         GARZA
23              519   DONALD       BROCK           GATES

24              520   HAKEM        EL              GEADY
                521   KYLE         JUSTIN          GEISLER
25              522   THEODORE     W               GELINAS
26              523   AUSTIN       ENZO MICOLO L   GEORGE
                524   DIAZ         CABRERA         GERMAN
27              525   ERICA        Y               GHOLSTON
28              526   RYAN         ADAM            GIBSON



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                527   DANIEL       CALVIN        GIES
 1
                528   ADIE         MERLIN        GIESE
 2              529   FRANCISCO    RENE          GIL
                530   JOHN                       GLATZMAIER
 3
                531   RODRIGUEZ    MARTINEZ      GLORIA             JR
 4              532   CORBIN       ANDREW        GLOVER

 5              533   RAFAEL                     GODINEZ
                534   HECTOR                     GODINEZ
 6              535   RANDALL      E             GOHN

 7              536   RANDALL      E             GOHN
                537   JONATHON     RAY           GOIN
 8              538   CARLANDO     MARLON        GOLDING

 9              539   RICHARD      ARTHUR        GOMEZ
                540   ALEX         XAVIER        GOMEZ
10              541   FERNANDO                   GOMEZ
11              542   JOSE         M             GONZALES
                543   ROBERT       MATUZ         GONZALES
12              544   LAWRENCE                   GONZALES
13              545   ADAM                       GONZALES
                546   ANDRES       AMARO         GONZALEZ           III
14
                547   MARIA        E             GONZALEZ
15              548   HIRAM        GARCIA        GONZALEZ           JR
                549   FRANCISCO    J             GONZALEZ
16
                550   SERGIO       M             GONZALEZ
17              551   ROLANDO                    GONZALEZ
                552   DANIEL                     GONZALEZ
18
                553   FERNANDO                   GONZALEZ
19              554   SERGIO       CURIEL        GONZALEZ
                555   MARIA                      GONZALEZ
20
                556   FERNANDO                   GONZALEZ
21              557   MARIA                      GONZALEZ

22              558   SEGIO        M             GONZALEZ CURIEL
                559   MICHAEL      LEON          GOODLOE
23              560   MICHAEL      LEON          GOODLOE

24              561   ELEANOR      JUDITH        GORMAN
                562   DAVID        JOHN          GRAHAM
25              563   CATHY        ANN           GRAHL
26              564   ROBERT       LEE           GRAHL
                565   JOSEPH       JOHN          GRANT
27              566   ROBERT       G             GRAVES
28              567   SARAH        J             GREEN



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                568   TERESA        A            GRIFFIS
 1                                               GRIJALVA
                569   JOSE          EDUARDO
                                                 NAVARRETE
 2              570   JACOB         JAMES        GRUBE
 3              571   JAKE                       GRUBE
                572   CRAIG         ALAN         GRUND
 4
                573   GRAIG                      GRUND
 5              574   JOHN          DAVID        GRUZA
                575   DOMINGUEZ                  GUADALUPE
 6
                576   GREGORY       DAVID        GUANELL
 7              577   CHRISTOPHER                GUDGEON
                578   JOHN                       GUDGEON
 8
                579   JOHN                       GUDGEON
 9              580   MARIO         ANDRES       GUERRERO
                581   ABRAM         JUAREZ       GUERRERO
10
                582   SONIA                      GUERRERO
11              583   CALVIN        JOSEPH       GUIDRY

12              584   JORGE         ALBERTO      GUILLEN
                585   JOE           CARLOS       GURROLA
13              586   NICOLAS                    GURROLA VILLA

14              587   DANIEL                     GUTIARREZ
                588   MARCO         ANTONIO      GUTIERREZ
15              589   YOLANDA                    GUTIERREZ
16              590   MARCO                      GUTIERREZ
                591   JULIE                      GUTIERREZ
17                                               GUTIERREZ
                592   LUIS
                                                 RODRIGUEZ
18              593   MARIA         JESUS        GUZMAN

19              594   SERVANDO                   GUZMAN
                595   ELISABETH     ANN          HAACK
20              596   CYNTHIA       KAREN        HAACK
21              597   ELISABETH                  HAACK
                598   BRIAN         ARTHUR       HACKER
22              599   BETH          ANN          HALL
23              600   BETH                       HALL
                601   JUSTIN        J            HAMILTON
24
                602   KATHRENE      JEAN         HANNA
25              603   PHILLIP       JAMES        HARER
                604   JABER                      HARIS
26
                605   BRITTANY      JA'NICE      HARLIN
27              606   ARNOLD        R            HARLIN
                607   BRITTAINY                  HARLIN
28

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                608   JERRY                      HARMON
 1
                609   JOANN        E             HARPER
 2              610   JOHNATHAN    D             HARRIS
                611   ANTONIO      RICO          HARRIS
 3
                612   JOHNATHAN                  HARRIS,
 4              613   WILLIAM      LEO           HARRISON

 5              614   BURNELL                    HARTMAN
                615   DEONTE       DESEAN        HARVILLE
 6              616   OSHAE        MARQUIS       HARVILLE

 7              617   MICHAEL      LOVIEL        HATCHER
                618   MICHAEL      ROY           HATLEY
 8              619   ADNAN                      HAURDIC

 9              620   STEPHEN      MCMAHON       HAY
                621   MICHAEL      T             HAYNES
10              622   ANTHONY      V             HAYNES
11              623   DENNIS       HERBERT       HEATH
                624   THOMAS       SLOAN         HEDRICK             II
12              625   KENTON       FRED          HEIDBRINK
13              626   DAVID        FRANK         HEINRICH
                627   VICTOR       EARLS         HEINZELMAN
14
                628   EUGENE       M             HELTON
15              629   JOHN         ROBERT        HENDERSON           JR
                630   JORDAN                     HEREDIA
16
                631   RUBEN        ANOULO        HERMOSILLO          JR
17              632   PATRICIA     NORMA         HERMOSILLO
                633   ALFREDO      FAVELA        HERNANDEZ
18
                634   VINCENT      MICHAEL       HERNANDEZ
19              635   MARILUZ      NIEVES        HERNANDEZ
                636   PONCIANO                   HERNANDEZ           II
20
                637   MARLLUZ                    HERNANDEZ
21              638   FRANK                      HERNANDEZ

22              639   MIGUEL       ANGEL         HERNANDEZ           JR
                640   CESAR        A             HERNANDEZ JIMENEZ
23              641   ANDREW       CASTRO        HERRERA

24              642   CARLOS       MACIAS        HERRERA CARVAJAL
                643   DEREK        RANDALL       HIGHT
25              644   PATRICK      R             HILL
26              645   SCOTT                      HILL
                646   PATRICK                    HILL
27              647   REBECCA      NAN           HILTS
28              648   CHARLENE                   HINES



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                649   JASON        A             HINES
 1
                650   CHARLENE                   HINES
 2              651   TYRONE       LIONEL        HOCKETT
                652   DAVAR                      HODJATI
 3
                653   KELLER       GRANT         HOGAN
 4              654   MARCEL       DUJUAN        HOLDEN
                655   DAJONAE      M             HOLDEN
 5
                656   SHAUNTIA                   HOLDEN
 6              657   DARWIN       K             HOLDEN

 7              658   EVELYN       JEAN          HOLDEN
                659   HERBERT                    HOLDEN
 8              660   TRELANCE                   HOLDEN

 9              661   JAMES        LEE           HOLDEN
                662   MARCEL                     HOLDING
10              663   ARMANDO                    HOLGUIN

11              664   ROSCO        RICCO         HOLIFIELD
                665   ROSCOE                     HOLIFIELD
12              666   JAMES        WILLIAM       HOLLAND
13              667   JAMES        E             HOLLAND
                668   JOHN                       HOLLANDER
14              669   DERRICK      DENNIS        HOLMES
15              670   JACQUELINE   BRIGET        HOLTON
                671   SHALISSE     M.            HOOKS
16
                672   JOE          WILLIE        HOOKS
17              673   DANDRE       A             HOOKS-CZAPANSKY
                674   KATRINA      GAYLE         HOPKINS
18
                675   MARK         D             HORNBERGER
19              676   KIMBERLY     TYLER         HORNSBY           III
                677   BRYAN        THOMAS        HORTON
20
                678   ALYSSA       NICOLE        HORYNA
21              679   CODY         MATTHEW       HOUGH

22              680   BRIAN        JERALD        HOWARD
                681   DELOSE                     HOWARD
23              682   BRANDON      J             HOWER

24              683   ALEJANDRO                  HUERTA            JR
                684   JOHNNY                     HUIZAR
25              685   JONATHAN     D             HULETT

26              686   NICHOLAS     ADAM          HULL
                687   PAUL         HOWARD        HULSANDER
27              688   MICHAEL      THOMAS        HULSEBOS
28              689   PAUL                       HULSLANDER



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                690   KENNITH      COLT          HUNT
 1
                691   RICHARD                    HUNT
 2              692   LEGIA                      HUNT                 JR
                693   DOUGLAS      A             HUNT
 3
                694   ANIKKA       MARIE         HUNTER
 4              695   EDITH        A             HURTADO
                696   ANTHONY      EDWARD        HYLTON
 5
                697   ANTHONY                    HYLTON
 6              698   FRANCISCO                  IBARRA

 7              699   PRISCILLA                  ICEDO
                700   STEPHANIE    ROSE          IMAN
 8              701   MARISSA                    INTHAREATH

 9              702   DERELL                     ITHIER
                703   TERHION      CAZZE         ITHIER OLIVER
10              704   HOSAM        HUSEIN        JABBAR

11              705   HOSAM                      JABBAR
                706   JOHNSON      JR.           JACK
12              707   SHELDON      MCKINLEY      JACK
13              708   MICHAEL      EARL          JACKSON
                709   TINA                       JACKSON
14              710   MELVIN       DOUGLAS       JACKSON              II
15              711   HOLLAND      JR,           JAMES
                712   ADAM         LEE           JAMES
16
                713   BELDON       S             JAMES
17              714   DANIEL                     JAMES
                715   BELDON                     JAMES
18
                716   TARA         BRYANAMARIE   JAMSGARO
19              717   BRIAN        WILLIAM       JANSEN
                718   TIMOTHY      MITCHELL      JANSSEN              JR
20
                719   MARTIN                     JARA
21              720   CHAZMIER     AUDREENA      JAYE TYLER

22              721   EDWARD       EUGENE        JEFFERSON
                722   HENRY        JARVIS        JEFFERSON
23              723   JEREMY       JUSTIN        JEFFERSON

24              724   CHARLES      J             JENKINS
                725   CHARLES                    JENKINS
25              726   BRIAN                      JENSEN

26              727   PAUL         NAJERA        JIMENEZ
                728   MIKE         NAJERA        JIMENEZ
27              729   JESUS                      JIMENEZ
28              730   AWTAJUANA    DANIELLE      JOHNSON



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                731   JACK         JAMES         JOHNSON
 1
                732   LAURA        JANE          JOHNSON              III
 2              733   ERIC         S             JOHNSON
                734   JARED        SAMUEL        JOHNSON
 3
                735   GARY         TYLER         JOHNSON
 4              736   JOHN                       JOHNSON              JR
                737   ERIC                       JOHNSON
 5
                738   JACK                       JOHNSON              JR
 6              739   FRANK        MELVIN        JOHNSON              JR

 7              740   GARY         RAY           JOHNSON LOPEZ
                741   JANA         MONIQUE       JOHNSTON
 8              742   AMOINE       A             JONES

 9              743   ANDREW                     JONES
                744   MICHAEL      ANTHONY       JONES
10              745   ROGER        DALE          JONES

11              746   CYNTHIA      DIANE         JONES
                747   KEAMONI      JALISE        JONES
12              748   CAROL        JEAN          JONES
13              749   GAREY        L             JONES
                750   ANTHONY      PERNELL       JONES
14              751   TIERRA       RAYNEECE      JONES
15              752   ALBERT       WILLIAM       JONES
                753   ALBERT       W             JONES
16
                754   JEFFREY      JOHN          JONES
17              755   BRANDON      DEMOND        JORDAN
                756   DOUGLAS      W             JORDAN
18
                757   DONESH       DEEPAK        JOSHI
19              758   JUAN                       JUAREZ
                759   ALLAN        S             KAMPER
20
                760   ALLEN                      KAMPER
21              761   SOLOMON      BOBSON        KANYAKO

22              762   SOLOMON      DODSON        KANYAKO
                763   ELIAS        KHEDER        KASEM
23              764   FRANK        AUSTIN        KATZ

24              765   BARBARA      JEAN          KEARNEY
                766   BECKY        JANE          KEARNS
25              767   BECKY                      KEARNS

26              768   KEVIN        SCOTT         KELLY
                769   HORATIUS     I.O.          KEMARS
27              770   PAL                        KENNEDY
28              771   PAUL                       KENNEDY



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                772   DONNA        JEAN          KENT
 1
                773   JOSHUA       STEPHEN       KEPES
 2              774   WILLIAM      ANDREW        KERKOS             JR
                775   BARBARA                    KERNEY
 3
                776   ELIODOR                    KERSAINT           II
 4              777   MISAK                      KHACHATRIAN
                778   SAEED                      KHALAF
 5
                779   JAROD        JEFFERSON     KIMERER
 6              780   MARJORIE     A             KINCAID

 7              781   MARK         A             KING
                782   TROY         D             KING
 8              783   MARK                       KING

 9              784   MARK         ALAN          KING
                785   JUNIOR       GREG          KINKEAD
10              786   ADAM                       KIRSCH

11              787   KEVIN        RICHARD       KNIGHT
                788   MAHLON       MOLENE        KOEPPEN
12              789   JOSHUA       D             KOLLE
13              790   ZACHARY      D             KONKOL
                791   ROBERT       T             KORNEGAY
14              792   PATRICIA     LOUISE        KOSLOW
15              793   PATRICIA                   KOSLOW
                794   KUDZO        JEREMIE       KPETIGO
16
                795   MICHAEL                    KRAFT              JR
17              796   JEREMY       TODD          KROPF
                797   RAYNOLD                    KWABI
18
                798   IRINEO       DE            LA
19              799   MITCHELL     SALAIZ        LABRADA
                800   ERIC         DAVID         LADWIG
20
                801   KENNETH      R             LAGA
21              802   KENNETH                    LAGA,

22              803   RAHMAUD      JARON         LAMB
                804   SHAUN                      LAMONTE
23              805   JOSHUA       ADAM          LAND

24              806   JOSHUA                     LAND
                807   MARTIN       NOEL          LARA
25              808   NATHAN       JOHN          LARSON CRUZ

26              809   JOSEPH       J             LARUSSA
                810   EBONY        SAMONE        LATHAM
27              811   KYLE         ANDERSON      LAWRENCE
28              812   JOSEPH       MICHAEL       LAWRENCE



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                813   DEREK         K             LAWSON
 1
                814   LEONARD                     LAWSON,
 2              815   GARY          GENE          LEABO
                816   ANTHONY       PHILLIP       LEAL
 3
                817   MAX           KRISTOPHER    LEE
 4              818   ANDREW        SCOTT         LEE
                819   JENNIFER      SUE-ANNE      LEE
 5
                820   CARMEN                      LEE
 6              821   LESLIE                      LEE

 7              822   MICHAEL                     LEE
                823   MARIA         CHRISTA       LEHEW
 8              824   MARIA                       LEHEW

 9              825   JOE                         LEJZEROWICZ
                826   JOSEPH                      LEJZEROWOCZ
10              827   PAUL                        LEOHOPE

11              828   DOMINIQUE                   LEON
                829   EMAJAI        K             LEVI
12              830   VAN           DOUGLASS      LEWIS
13              831   NANCY         JEAN          LEWIS
                832   VAN                         LEWIS
14              833   PEDRO         LUIS          LEYVA
15              834   SILAS         ISRAEL        LINDSEY
                835   CHRISTOPHER   O             LING
16
                836   STEVEN        JAMES         LITTLE
17              837   RONALD        JOSEPH        LITTLE
                838   STEVEN                      LITTLE
18
                839   MICHAEL       GENE          LITTLE
19              840   MARTIN                      LLAMAS
                841   ORLANDO                     LLAMAS
20
                842   MICHAEL       G             LOFTON
21              843   NIKOLE                      LOGAN

22              844   BLANCA                      LOMELI
                                    RYAN
                845   GERALD                      LONG
23                                  CHRISTOPHER
                846   ROBERT        BLAINE        LOOPER
24              847   SCOTT         MICHAEL       LOPES
                848   ADELA         ARAMBULA      LOPEZ
25
                849   RODRIGO       FERNANDO      LOPEZ
26              850   JOSE          FERNANDO      LOPEZ

27              851   EDWARD        JOSE          LOPEZ
                852   LEONARD       JOSEPH        LOPEZ
28

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                853   ESTELA       SANCHEZ       LOPEZ
 1
                854   SAMUEL       URREA         LOPEZ
 2              855   CESAR                      LOPEZ
                856   CANDELARIA                 LOPEZ
 3
                857   LEONARD                    LOPEZ
 4              858   SAMUEL                     LOPEZ

 5              859   EDWARD                     LOPEZ
                860   JAVIER       VICENTE       LOPEZ               JR
 6              861   LARRY                      LOPEZ               JR

 7              862   MARIA                      LOPEZ
                863   SAMUEL       URREA         LOPEZ
 8              864   PABLO        ENRIQUE       LOPEZ GARCIA        JR

 9              865   ADRIAN                     LOPEZ RODRIGUEZ
                866   FRANCISCO    JAVIER        LOPEZ-LOZANO
10              867   SEAN         DAVID         LOUD
11              868   ROSALAS      MARCO         LOUIE
                869   NICOLE       MARIE         LOVATO
12              870   OMNY                       LOVE
13              871   CHERYL                     LOVE
                872   DON                        LOVITT
14
                873   ERIC                       LOZANO
15              874   ALBERT                     LUGO
                875   ALBERT       ASTORGA       LUGO
16
                876   PEDRO                      LUJANO
17              877   JERRY                      LUND
                878   MARTIN       ALEJANDRO     LUQUIN
18
                879   EDUARDO      ROBLES        LUZANIA
19              880   MICHAEL      DEAN          LYMAN
                881   JESSTINE     MAE           MABIN
20
                882   TRAVIS       BROOKS        MACKEY
21              883   DAVID        H             MACMILLAN

22              884   ERIKA                      MADA
                885   ANGEL                      MAGALLON
23              886   RICKY        STEPHON       MAGEE

24              887   DANIEL                     MAGUIRE
                888   DANIEL       LEE           MAGUIRE ESTAVILLO
25              889   HADEEL       SAEED         MAJEED
26              890   HADEEL                     MAJEED
                891   MONIQUE      E             MALDONADO
27              892   JOSEPH       DAVID         MANSFIELD
28              893   JAMES        NIEME         MANSOUR



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                894   ANGUIZ       JR,           MANUEL
 1
                895   JOSEPH       PHILLIP       MANUEL
 2              896   MARIA                      MARANO
                897   HOLDEN                     MARCEL
 3
                898   DOMINIQUE                  MARIE
 4              899   GERARDO                    MARQUEZ
                900   ADRIAN                     MARQUEZ CAMERON
 5
                901   JUSTIN       KYLE          MARTIN
 6              902   TALIA        T             MARTIN

 7              903   KENYA                      MARTIN
                904   JOAQUIN      ALBERTO       MARTINEZ
 8              905   DAVID        ANDREW        MARTINEZ

 9              906   ROCIO        GARCIA        MARTINEZ
                907   SERGIO       JOHN          MARTINEZ
10              908   AMANDA       LEE           MARTINEZ

11              909   DAFNE        M             MARTINEZ
                910   ZACHARY      RAY           MARTINEZ
12              911   LUIS         STEVAN        MARTINEZ
13              912   GUADALUPE                  MARTINEZ
                913   KEYLA                      MARTINEZ
14              914   ZACHARY                    MARTINEZ
15              915   YOVANY                     MARTINEZ
                916   SCOTT        D             MASEK
16
                917   BEATRIZ                    MASHBURN
17              918   DAUNTE       D             MASTERS PINEDA
                919   LUIS         A             MATEOS
18
                920   LLOYD                      MATTOX
19              921   BRANDON      DEAN          MAY
                922   BRANDON                    MAY
20
                923   GARY         KEVIN         MAYBERRY
21              924   KEN                        MAZEL

22              925   CHAD         ROBERT        MCCAULLEY
                926   SCOTT                      MCCLAIN
23              927   QUINN        WYLIE         MCCLAREN

24              928   JERRY        ALEXANDER     MCCLELLAN
                929   JOSHUA       LEE           MCCLOSKEY
25              930   RANDY                      MCCRAY

26              931   JAMES        EDWARD        MCCURDY
                932   SAMANTHA     RENEE         MCDUFFEY
27              933   CHELSEA      ANNE          MCGARRY
28              934   CHELSEA                    MCGARRY



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                935   FRANKI                      MCGHEE
 1
                936   GREGORY      LEE            MCGILL
 2              937   GREGORY      LEE            MCGILL
                938   SARA         J              MCGLUMPHY
 3
                939   TRISHA       MARIE-LUFTER   MCGLUMPHY
 4              940   GLEN                        MCGLUMPHY

 5              941   GAVIN        LEIGH          MCGRANAHAN
                942   ROLAND       PAUL           MCINTIRE
 6              943   MICHELLE                    MCKEE

 7              944   RONALD       ROY            MCKENZIE
                945   RANDY        L              MCKEY
 8              946   SHAN         JACOB          MCKINNISS

 9              947   ANTHONY      R              MCKISSIC
                948   JUAN         CARLOS         MEDINA
10              949   JOSE         L              MEDRANO-AVILA
11              950   NANCY        LUZ            MEJIA
                951   NANCY                       MEJIA (GEORGE)
12              952   ROSIE        MARIE          MELVIN
13              953   MARIO        ALBERTO        MENDEZ
                954   DOUGLAS      FUENTES        MENDEZ
14
                955   GUADALUPE    RAMIREZ        MENDEZ
15              956   DOUGLAS                     MENDEZ
                957   NANCY        KARINA         MENDIVIL RANGEL
16
                958   FILIBERTO    PEREZ          MERAZ SANCHEZ
17              959   ARMANDO                     MERCADO
                960   EDWARD       LEE            MERRIMAN
18
                961   GUSTAVO                     MESA (MANUEL)
19              962   MICHAEL      E              MESCHEN
                963   JOSEPH       M              MESQUITA
20
                964   JASON                       MESSER
21              965   ANDREW       JOHN           MESTAS

22              966   ALMA         SUSANA         MEZA
                967   GUSTAVO                     MEZA
23              968   GUSTAVO                     MEZA

24              969   JONATHAN     ALEXANDER      MEZQUITA
                970   LISA         ANN            MEZQUITA
25              971   JOSHUA       B              MIDDAUGH
26              972   JERRY        LEE            MILLER
                973   JERRY                       MILLER
27              974   BRENT        JASON          MILLER                II
28              975   JOSEPH       BENEDICT       MILLS



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                976   EARL                       MINES
 1
                977   RAFAEL       GEOVANNY      MINJAREZ
 2              978   XAVIER                     MINJAREZ CONEJO
                979   AVELIA                     MIRANDA
 3
                980   MATTHEW      J             MITCHELL           JR
 4              981   TONY         MICHAEL       MITCHELL

 5              982   DIANE                      MITCHELL
                983   MATTHEW                    MITCHELL
 6              984   ADIONA       GAYLE         MITCHELL

 7              985   JEREMIAH     DAVONTTAY     MITCHELL
                986   GAMEZ        BARRERA       MOISES
 8              987   MERIAL       M             MOLETT

 9              988   EFRAIN       HUGUEZ        MOLINA
                989   KEVIN        LEE           MONCHAMP
10              990   JEFFREY                    MONEYPENNY
11              991   JEFFERY                    MONEYPENNY
                992   MICHAEL      ALBERT        MONTANEZ
12              993   ANGEL        GABRIEL       MONTANO
13              994   MURRIA       DAVIN         MONTGOMERY
                995   OSCAR        D             MONTIJO
14
                996   MANUEL       R             MONTOYA
15              997   JOHNNIE      RAY           MONTOYA
                998   RANDALL      BRIEN         MOORE
16
                999   KENT         RICHARD       MOORE
17             1000   BRIAN                      MOORE
               1001   JAY                        MOORE              JR
18
               1002   JERAMY       RL            MOORE
19             1003   MONIQIE                    MORALAS (EFRAIN)
               1004   MONIQUE      IRMA          MORALES
20
               1005   GUADALUPE                  MORALES
21             1006   SERGIO                     MORALES

22             1007   YSIDRO                     MORALES            JR
               1008   MARIA        D             MORENO
23             1009   ERICA                      MORENO

24             1010   ERICA                      MORENO
               1011   FRANK                      MORENO CELAYA
25             1012   ROBERT       DAVID         MORGAN
26             1013   DANIEL       JAMES         MORGAN
               1014   PAUL         LYNDON        MORGAN
27             1015   JOHN         THOMAS        MORGAN
28             1016   ERIC         CHRISTOPHER   MORONES



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               1017   ERIC                       MORONES
 1
               1018   TARI          ELIZABETH    MORRIS
 2             1019   KERMAN        JAMES        MORRIS
               1020   SHARLYN       V            MORRIS
 3
               1021   ANTHONY                    MORRIS
 4             1022   VERNON        L            MORRIS
               1023   ROBIN         LYNN         MORRISON
 5
               1024   SEAN          R            MORRISON
 6             1025   REGINA        RENEE        MORRISON

 7             1026   RIGINA                     MORRISON
               1027   DANIEL        THOMAS       MORROW
 8             1028   BENJAMIN      E            MOSELEY

 9             1029   SAVANNAH                   MOSS
               1030   DANIEL        JOSEPH       MOSTRALES
10             1031   SAMUEL        TEC          MOYERS

11             1032   DENNIS        PATRICK      MOYO
               1033   GARY          STEVEN       MUELLER           JR
12             1034   STACY         V            MUFF
13             1035   JANNAH                     MUHAMMAD
               1036   WISSAM                     MUHAMMED
14             1037   JAIME         ALBERTO      MUNET
15             1038   ALBERTO       MENDIVIL     MUNEZ
               1039   SALVADOR      A            MUNOZ             SR
16
               1040   DANIEL                     MUNOZ
17             1041   ANDREW        PAUL         MUNSON
               1042   CHRISTOPHER   MICHAEL      MUR
18
               1043   EFRAIN                     MURILLO
19             1044   MOYA          NATALEE      MURRAY
               1045   MOYA                       MURRY
20
               1046   JOSEPH                     MUTHIORE
21             1047   JEFFERY       A            NAGY

22             1048   MONIA                      NAJERA
               1049   TIMOTHY       J            NAPOLSKI
23             1050   TRINA         JEAN         NASH

24             1051   BLAINE        J            NASTACIO
               1052   VICTOR        JOVAN        NAVARRETTE
25             1053   BRITTANI      A            NAVARRO

26             1054   ERIC          M            NAYLOR
               1055   DAVAR                      NEJAD
27             1056   GERALD        WAYNE        NELSON
28             1057   YVETTE                     NELSON



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               1058   PATRICK      WAYNE         NEWTON
 1
               1059   FREIDA       CHEE          NEZ
 2             1060   LYSSA        MERCEDES      NGUYEN
               1061   HUNG         THIA          NGUYEN
 3
               1062   TOMMY        JC            NGUYEN
 4             1063   GREGORY      STUART        NICHOLS

 5             1064   REGINALD                   NICHOLSON
               1065   JEFFREY      SCOTT         NORIN
 6             1066   MATTHEW      JAMES         NORRIS

 7             1067   GLENN        ALEXANDER     NOYES
               1068   SCOTT                      NUESCA-HILL
 8             1069   FRANK        RICHARD       NUNEZ

 9             1070   JESSICA                    NUNEZ
               1071   AMBROSE      OKEDIMA       NWULU
10             1072   RODERIC                    O’CONNOR
11             1073   JULIO                      OCAMPO
               1074   ALVARO                     OCHOA
12             1075   CELESTE      DOMINIQUE     OCHOA
13             1076   CONCEPCION                 OCHOA
               1077   RODERIC      NEWELL        O'CONNOR
14
               1078   DANIEL       NICHOLAS      OETZEL
15             1079   DANIEL                     OETZEL
               1080   MARTIN       J             OLAGUEZ
16
               1081   MARTIN                     OLAGUEZ               JR
17             1082   MARTIN                     OLAGUEZ
               1083   ELLEN        LYNN          OLHEISER
18
               1084   SUSANA                     OLVERA PADILLA
19             1085   JIMMIE       RODGER        O'MALLEY
               1086   ELIZABETH    EFFIONG       OMON
20
               1087   FRANKLIN     PATRICK       ONEAL
21             1088   ANTHONY      A             ORLOWSKI

22             1089   ANTHONY                    ORLOWSKI
               1090   MIGUEL       ANGEL         OROZCO
23             1091   VICKIE       ANN           OROZCO

24             1092   OSCAR        VERNET        ORTEGA
               1093   HORACIO                    ORTIZ
25             1094   GREGORY      JULIAN        OSBORNE
26             1095   GREGORY      J             OSBORNE
               1096   GREGORY      (JULIAN)      OSBORNE
27             1097   STEVEN       F             OTHON
28             1098   GERALD       K             OTTO



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               1099   DAVID         WHITFIELD    OUGHTON
 1
               1100   CHRISTOPHER   A            OWENS
 2             1101   CLARENCE      J            OWENS
               1102   ADEFEMI       MICHAEL      OYETEDE
 3
               1103   CLAUDIA       B            PACHECO
 4             1104   ZACHARY       MICHAEL      PACHECO

 5             1105   ALLEN         J            PADELFORD
               1106   ADOLFO                     PADILLA             JR
 6             1107   ALEX                       PADILLA

 7             1108   NORIELVIS                  PADRON RODRIGUEZ
               1109   RENEE         MARIE        PALMER
 8             1110   SALVADOR      JAMES        PARISI

 9             1111   MICHAEL       R            PARKER
               1112   ANDREW        SCOTT        PARKER
10             1113   ANDREW                     PARKER
11             1114   PEDRO                      PARRA TARIN
               1115   LUIS          JAVIER       PATINO
12             1116   RICHARD                    PATON
13             1117   ELIJAH        JOSHUA       PAYAN
               1118   MAURICE       L            PAYNE
14
               1119   DOUGLAS       WAYNE        PAYSSE
15             1120   BREONA        DANILE       PEAK
               1121   ROGER         W            PEARSON
16
               1122   MICHELLE                   PEELE
17             1123   MARIO         ANTONIO      PENA
               1124   LEONARD       JAMES        PERALTA
18
               1125   JUAN          CARLOS       PEREZ
19             1126   DAVID                      PEREZ
               1127   ANTONIO       JULIAN       PEREZ VEITIA
20
               1128   JOSEPH        NATHANAEL    PERFECTO
21             1129   RICHARD       A            PERRONE

22             1130   CHRISTOPHER   HARRISON     PERRY
               1131   HASIB                      PERVIZ
23             1132   MORIN         JOSEPH       PETERMAN

24             1133   MORIN                      PETERMAN
               1134   SARAH         RAYANNE      PETERS
25             1135   KHADIJAH                   PETERS
26             1136   JEREMI                     PETTIGREW
               1137   KEN           CURTIS       PHILLIPS
27             1138   SHANE         MATTEW       PHILLIPS
28             1139   JAMES         CALEB        PHIPPS



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               1140   COLTON                     PHIPPS
 1
               1141   CYNTHIA      LYNN          PIERSON VENTURA
 2             1142   JOHN         ANGEL         PIEVE
               1143   JOHN                       PIEVE
 3
               1144   RONALD       A             PINCKNEY
 4             1145   FERNANDO     EDGARDO       PINEDA

 5             1146   ELVIRA       ARCIGA        PLANCARTE
               1147   MICHAEL      L             POGGI
 6             1148   VICKIE       ANN           POLINA

 7             1149   STEPHANIE                  PONCE
               1150   GENEVIEVE    MICHELLE      PONCE
 8             1151   CARLOS                     PONCE-MONDACA

 9             1152   GARY         PAUL          POTTER
               1153   GARY                       POTTER
10             1154   SUZANNE      LEA           POTTS
11             1155   SUE                        POTTS
               1156   SUZANNE                    POTTS
12             1157   JASON        NORGARRD      POULSON
13             1158   SKYLER       D             POWELL
               1159   IRAN         (CHRIS)       POWERS
14
               1160   RAMOUN       DEANTRE       PRICE
15             1161   ARNULFO                    QUEZADA JR
               1162   PAUL         JOSEPH        QUINN
16
               1163   RICHARD      R             QUINONES
17             1164   JAMES                      QUINTANILLA
               1165   JASMIN                     QUINTANILLA
18
               1166   MICHAEL      ANTHONY       QUIROZ
19             1167   RICK                       RAD
               1168   MARK         LAWRENCE      RADTKE
20
               1169   ARMANDO      DELGADO       RAMIREZ
21             1170   JOSE         L             RAMIREZ

22             1171   JOSE         MANUEL        RAMIREZ
               1172   TAMMY        MONSERRAT     RAMIREZ
23             1173   JOSE         R             RAMIREZ

24             1174   MANUEL                     RAMIREZ
               1175   MANUEL                     RAMIREZ
25             1176   JORGE        LUIS          RAMOS
26             1177   CARMEN       ZARAY         RAMOS
               1178   ANTONIO                    RAMOS
27             1179   ROBERTO                    RAMOS
28             1180   HERMAN       LYNARD        RANDALL



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               1181   HERMAN                     RANDALL
 1
               1182   DAVID        ANTHONY       RANDOLPH
 2             1183   TODD                       RANDOLPH
               1184   DREW         BARRY         RAUCHWAY
 3
               1185   JAMES        KENNETH       REAL
 4             1186   ISAAC        B             REED

 5             1187   JOSEPH                     REED
               1188   JOSEPH       DANIEL        REED DURAN
 6             1189   MICHAEL      GERARDO       REGALDO

 7             1190   MICHAEL                    REGALDO
               1191   WAYNE        LEE           REINHARD
 8             1192   LINDA        ZOE           REISS

 9             1193   MARK         EDWARD        REITTER
               1194   MARK                       REITTER (MARCOS)
10             1195   YENNIFER     NAYELI-YNEZ   REYES
11             1196   EUTIQUIO                   REYES
               1197   MARGARITO    B             REYES VALENCIA
12             1198   MICHAEL      J             RICH
13             1199   DANTAI       DIERRE        RICHARDSON
               1200   DONALD       DUVEY         RICHARDSON
14
               1201   MARK                       RICHARDSON
15             1202   JASON        TROY          RIDDLE
               1203   JASON                      RIDDLE
16
               1204   JOHN         LYNN          RIDING
17             1205   JOHN                       RIDING
               1206   INES                       RIOS
18
               1207   JAMES        A             RIOS
19             1208   JOSE         ERNESTO       RIOS DAVILA
               1209   MICHAEL      WILLIAM       RISNER
20
               1210   GEOFFREY     MARK          RIVARD
21             1211   DAVID        L             RIVAS

22             1212   ANGEL        RAY           RIVAS
               1213   ANTONIO                    RIVAS
23             1214   MARK         ANTHONY       RIVERA

24             1215   JESUS        R             RIVERA
               1216   OLGA         YOLANDA       RIVERA
25             1217   CRYSTAL      G             RIVERA
26             1218   EFRAIN                     RIVERA                JR
               1219   MANUEL       A             RIVERA GONZALEZ
27             1220   MICHELE      RENEE         RIVERS
28             1221   MICHELLE                   RIVERS



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               1222   TIFNI                      ROBBINS
 1
               1223   EDRIL                      ROBERT
 2             1224   ANDREW       MAX           ROBERTSON
               1225   CHRIS        J.            ROBINSON
 3
               1226   DAVID        MARCEL        ROBINSON
 4             1227   MIGUEL       ANGEL         ROBLES

 5             1228   JOSE         LUIS          ROBLES
               1229   ALFONSO      M             ROBLES
 6             1230   JOSE         NIEVES        ROBLES

 7             1231   MIGUAL                     ROBLES
               1232   DINA         ROSA          ROBLES
 8             1233   JOSE                       ROBLES

 9             1234   GEORGE       CORNELL       ROBY
               1235   JOSE                       RODARTE
10             1236   MICHAEL      ANGEL         RODRIGUEZ
11             1237   GLORIA       ISABEL        RODRIGUEZ
               1238   RAFAIL       LINARES       RODRIGUEZ
12             1239   FERNANDO     LUIS          RODRIGUEZ
13             1240   SOLOMON      MARTINEZ      RODRIGUEZ
               1241   DAVID        MICHAEL       RODRIGUEZ
14
               1242   BENNY        T             RODRIGUEZ
15             1243   DORIS                      RODRIGUEZ
               1244   MARIBEL                    RODRIGUEZ
16
               1245   ARMANDO                    RODRIGUEZ
17             1246   HECTOR                     RODRIGUEZ           JR
               1247   BERTHA                     RODRIGUEZ
18
               1248   JULIO                      RODRIGUEZ
19             1249   BERTHA                     RODRIGUEZ
               1250   HECTOR                     RODRIGUEZ
20
               1251   SOLOMON                    RODRIGUEZ           JR
21             1252   CARLOS                     RODRIGUEZ           JR

22             1253   MICHAEL      A             RODRIGUEZ
               1254   ADAN         LEONARDO      RODRIGUEZ
23             1255   DORIS                      RODRIGUEZ (GINO)

24             1256   YUDELKA      MERCEDES      RODRIGUEZ HOLGUIN
               1257   ALFONSO                    RODRIGUEZ JR
25                                               RODRIGUEZ
               1258   EDWARD
                                                 MARTINEZ
26             1259   GLORIA
                                                 RODRIGUEZ
                                                 MARTINEZ
27             1260   CONCEPCION                 RODRIQUEZ           JR
               1261   SOKHA                      ROEUN
28

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               1262   SOKHA                      ROEUN
 1
               1263   FAVIO                      ROJAS
 2             1264   ANTONIO      L             ROMAN
               1265   RICHARD                    ROMERO              JR
 3
               1266   WALTER       ALEXANDER     ROMERO
 4             1267   LUIS                       ROSALES

 5             1268   FELIPE                     ROSALES
               1269   CHRISTINA                  ROSALES
 6             1270   CHRISTINA                  ROSALES

 7             1271   FELIPE                     ROSALES
               1272   HEIDI                      ROSALES
 8             1273   JUAN                       ROSAS FRANCO

 9             1274   HOLIFIELD    III,          ROSCO
               1275   THEODORE     MARCUS        ROSE
10             1276   FRANKLIN                   ROSELL
11             1277   IMARA                      ROSS
               1278   JOSHUA       JONATHAN      ROSS
12             1279   PAHKALIJAE                 ROSS,
13             1280   JOSHUA       DANIEL        ROWLAND
               1281   ROMAN        D             RUBIO
14
               1282   MICHELLE     RENE          RUDOLPH
15             1283   GERARDO                    RUIZ                JR
               1284   MARCO        A             RUIZ
16
               1285   INES         ALEJANDRA     RUIZ
17             1286   RAMON        ANGEL         RUIZ
               1287   JESSICA      JULIANA       RUIZ
18
               1288   ALTAGRACIA                 RUIZ
19             1289   JEFFREY      ALAN          RUSH
               1290   TARIQ        MISAD         SAADEH
20
               1291   TARIQ                      SAADEH
21             1292   ARMEN                      SAAKYAN

22             1293   STEVE        FOUZI         SABBAGH
               1294   ANTONIO                    SAENZ               JR
23             1295   SAMUEL       ALI           SAGU-SAENZ

24             1296   CHRIS                      SALAZAR
               1297   ELI                        SALAZAR
25             1298   FRANK                      SALAZAR             II
26             1299   JAVIER                     SALAZAR-GARCIA
               1300   JUSTO                      SALCEDO
27             1301   MARGARITO    AVILA         SALDANA
28             1302   HENRY        BERVAL        SAMSON



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               1303   JOSEPH        DEREK        SAN
 1
               1304   RICHARD       OSCAR        SANCHEZ
 2             1305   KIMBERLY      SUE          SANCHEZ
               1306   JULIO                      SANCHEZ
 3
               1307   MATTHEW                    SANCHEZ
 4             1308   HENRIETTA     I            SANCHEZ
               1309   CHRISTOPHER                SANCHEZ ALCANTAR
 5
               1310   MATTHEW                    SANCHEZ ITURBE
 6             1311   ANA                        SANCHEZ RIOS

 7             1312   TED           L            SANDERS
               1313   JOHN          EDWARD       SANDERS
 8             1314   TED                        SANDERS

 9             1315   JOE           NUGHAN       SANDLES
               1316   MARIO                      SANDOVAL
10                                               SANDOVAL
               1317   FRANCISCO
                                                 MAGALLANES
11             1318   LANA          MARIE        SANDVIK

12             1319   MARTIN        ANDY         SANGLAS
               1320   ERIC          RENE         SANTAMARIA
13             1321   MICHAEL                    SANTANA

14             1322   JIM           GIANLUCA     SANTORO               JR
               1323   EDUARDO                    SANTOS
15             1324   EDUARDO                    SANTOS
16             1325   JAMES                      SAO
               1326   JAMES         AINSLIE      SASSI
17             1327   MICHAEL                    SATTERWHITE
18             1328   CHRISTOPHER   JAMES        SAUCIDO
               1329   CHRISTOPHER   JAMES        SAUCIDO
19             1330   BARRY         DEAN         SAUNDERS
20             1331   ADAM          JAMES        SAUNOOKE
               1332   CARLOS        DEONDRAY     SAVAGE
21
               1333   MATTHEW                    SAYEGH
22             1334   MICHELLE      MARIE        SAYER
               1335   MILO          CURTIS       SAYLER
23
               1336   STEVEN        KENT         SCHEELER
24             1337   GREGORY                    SCHENK
               1338   ROBIN         L            SCHIMETZ
25
               1339   ROLF          D            SCHMIDT
26             1340   EMANUEL       J.           SCHWARTZ

27             1341   BRENDAN                    SCHWARTZ
               1342   BRENDAN                    SCHWARTZ
28

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               1343   ALEXANDER    GRANT         SEKORA
 1
               1344   DAMESHA      LASHONDRA     SELLMAN
 2             1345   DAMESHA                    SELLMMAN
               1346   ELOUIEZ      MAE           SEMINOLE
 3
               1347   GREGORY      ALAN          SEMPSROTE
 4             1348   FELICIA      NAOMI         SENFT
               1349   YESLHA       TERESA        SERRANO
 5
               1350   SALEM                      SHABO
 6             1351   LATIFAH      AMINAH        SHAH

 7             1352   FAHEEM       A             SHAKIR
               1353   MARIYAM                    SHAMOUN
 8             1354   TWYLA        LAWANNA       SHARON

 9             1355   KEEGAN       DAVID         SHAW
               1356   GREGORY                    SHAW
10             1357   JEFFREY      EDWARD        SHEBLE

11             1358   LORENZO      LAMAR         SHIVERS
               1359   EARL         G             SIERRA
12             1360   EARL                       SIERRA
13             1361   GLAFIRA      F             SIFUENTES
               1362   ADELA                      SILVA
14             1363   IVAN         MAGDALENO     SILVA
15             1364   JOSHUA       LOUIS         SILVERSTEIN
               1365   RICHARD      GREGORY       SIMON
16
               1366   SHAYLA       AFUA          SIMONE
17             1367   RYAN         WAYNE         SIMONS
               1368   SEAN         MICHAEL       SIMPSON
18
               1369   SEAN                       SIMPSON
19             1370   JOSEPH                     SIMS
               1371   ADALBERTO                  SIQUEIROS
20
               1372   DERICK                     SISOMBATH
21             1373   ANTHONY                    SKATES

22             1374   JOHNATHAN    IRIS          SLAY
               1375   TERRY        MICHAEL       SLOAN BOATLEY
23             1376   MICHAEL      ANDREW        SLYE

24             1377   ELIJAH       RASHAAD       SMALL
               1378   ROBERT       GASTON        SMETS
25             1379   ROBERT       GASTON        SMETS

26             1380   SAMANTHA     JEANNE        SMITH
               1381   STEVEN       KENT          SMITH                JR
27             1382   ZACHARY      KYLE          SMITH
28             1383   LYNN         MARIE         SMITH



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               1384   RAYMOND      T             SMITH
 1
               1385   CANDACE      MARIE         SMITH
 2             1386   LARESSA                    SMITH
               1387   WILLIAM      WADE          SMITH
 3
               1388   JAMES                      SMITH HART
 4             1389   BRYAN                      SNOW
               1390   JAMES        ORREN         SNYDER
 5
               1391   JAMES                      SOA
 6             1392   JASON        EDWARD        SOBARZO

 7             1393   ANDREA       JODIE         SOLAREZ
               1394   SHERRY                     SOLOMON
 8             1395   GERARDO                    SOLORIO

 9             1396   ROBERT       J             SOMEGUSTAVA
               1397   JOHN         PAUL          SOTO
10             1398   JASON        EDWARD        SOUTHARD

11             1399   JASON                      SOUTHARD
               1400   WILLIAM      DERALD        SPIRES
12             1401   JOY                        SPRALLS
13             1402   KATHRYN      MICHELLE      SPRINGER
               1403   JASON        N             STAATS
14             1404   JASON                      STAATS
15             1405   HENRY        GLEN          STANFORD
               1406   BENJAMIN                   STAPLEY
16
               1407   OREN         EUGENE        STATES
17             1408   OREN                       STATES
               1409   ROLAND                     STEELE
18
               1410   BRIAN        JOHN          STEEN
19             1411   SHELLI                     STEENERSON
               1412   MARY JO                    STENNER
20
               1413   MARY         JO            STENNER
21             1414   JACK                       STEPHANIE

22             1415   TRAVIS       WAYNE         STEPHENS
               1416   ANGELINA                   STEVENS
23             1417   SHAWN                      STEVENSON

24             1418   LATISHA      MONIQUE       STEWART
               1419   ANNA         S             STILES
25             1420   ANNA         SOPHIA        STILES

26             1421   ANNA                       STILES
               1422   DEREK        WAYNE         STINGLEY
27             1423   BEN          G             STINSON            II
28             1424   ANTHONY      R             STIRPE



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               1425   DANTE                        STOKES
 1
               1426   DERIK                        STOTLAND
 2             1427   ISAIAH          ANTONIO      STRAUGHTER
               1428   DEWAYNE         B            STRICKLIN
 3
               1429   CRAIG           EDWARD       STUEHLING
 4             1430   CRAIG                        STUEHLING

 5             1431   SHAQUILLE       ALLEN        SUELL
               1432   JAMES           ALLEN        SUHR
 6             1433   SPENCER         MICHAEL      SUNIGA

 7             1434   ERDUAN                       SURIF
               1435   BRIAN           L            SUSKO
 8             1436   JASON                        SWAIM

 9             1437   JASON                        SWAIM
               1438   DAVID           MOIJUEH      SWARAY            JR
10             1439   DAVID                        SWARAY
11             1440   BRIAN           D            SWEET
               1441   EMMETT          DALTON       TABER
12             1442   EMMETT                       TABER
13             1443   PROMISS                      TABOR
               1444   VALENTIN        VALENTINOV   TALEV
14
               1445   ZAID            NASRAH       TALFAH
15             1446   CLELUS          NATHANIEL    TANG
               1447   DANNY                        TARKINGTON
16
               1448   CHARQUYNDELYN   DEZJORAE     TAYLOR
17             1449   RENA            JEAN         TAYLOR
               1450   CHRISTOPHER                  TAYLOR            JR
18
               1451   GERALD          LAMAR        TAYLOR            JR
19             1452   MITCHELL        DARNELL      TAYLOR
               1453   BENJAMIN        AMOS         TEAGUE
20
               1454   THOMAS          GEOFFREY     TECCHIO
21             1455   BABAK                        TEIMOURIAN

22             1456   JAMES                        TENNER
               1457   RODNEY          DEAN         TENNISON
23             1458   MICHAEL         DEWAYNE      TENSLEY

24             1459   MICHEAL                      TENSLEY
               1460   CANDY           ANN          TERRY
25             1461   STROUD          II,          THOMAS
26             1462   HEDRICK         JR,          THOMAS
               1463   CHRISTOPHER     JORDAN       THOMAS
27             1464   ASHLEY          COLLETTE     THOMPSON
28             1465   MARCUS          EMANUEL      THOMPSON



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               1466   SHANE         W            THOMPSON           JR
 1
               1467   BRETT         DAVID        THOMPSON
 2             1468   LAVONTE       RAY          THOMPSON
               1469   TAMMY                      THOMSON
 3
               1470   MARCUS        ANDREW       THORNTON
 4             1471   MARCUS                     THORNTON
               1472   BRETT         VAN          TICHELT
 5
               1473   LISA                       TOBIN
 6             1474   SORIN                      TOMA

 7             1475   JAMES         MARCEL       TOMASINO
               1476   DAVID                      TONGATE
 8             1477   JULIA         ERIN         TOPE

 9             1478   JESSICA                    TOPOLSKI
               1479   RHONDA                     TORBET
10             1480   RHONDA                     TORBET

11             1481   LAQUAN                     TORRENCE
               1482   MARCO         A            TORRES
12             1483   ASCENCION                  TORRES
13             1484   MARCO                      TORRES
               1485   RAYMON                     TORRES
14             1486   MARK          E            TOWNS
15             1487   NICHOLAS                   TOWNSEND
               1488   NICHOLAS                   TOWNSEND
16
               1489   DELANO                     TREMBLE
17             1490   LAWANA                     TREMBLE
               1491   LAWANA                     TREMBLE
18
               1492   ROBERT        HALL         TRENT
19             1493   MONIQUE                    TUGGLE
               1494   CHRISTOPHER                TUIONE
20
               1495   JEFFREY       DURHAM       TURNAGE
21             1496   KIM           LOUISE       TURPIN

22             1497   LINDA                      TYLER
               1498   CATALINA      M            ULLOA
23             1499   ANGUS         SCOTT        UPSHAW

24             1500   ANGUS                      UPSHAW
               1501   CESAR                      URENA
25             1502   CESAR         LEOBARDO     URENA

26             1503   MICHAEL       IVAN         URENA
               1504   ANDREA                     URIARTE
27             1505   ROMANA        G            URIAZ HURRUTINER
28             1506   JASON         P            URICH



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               1507   GERALD       CARLOS        URRUTIA
 1
               1508   ALFREDO      MOLINA        V
 2             1509   GERMAN       A             VAHOS
               1510   ANTONIO      PABLO         VALENCIA
 3
               1511   JESSICA      ANN           VALENZUELA
 4             1512   MICHAEL      JOSEPH        VALENZUELA
               1513   MANUEL                     VALENZUELA
 5
               1514   ALEXIS       RENEE         VALENZUELA
 6             1515   ANDREW       MICHAEL       VALIQUETTE

 7             1516   REYNA        MARIE         VALLES
               1517   ROGELIO                    VALLES-RAMIREZ
 8             1518   OLIVIA       PAULINE       VAN

 9             1519   ROBERT       LEE           VANN                JR
               1520   MAYRA        K             VARGAS
10             1521   VIRGINIA                   VARGAS

11             1522   MANUEL                     VARGAS
               1523   JUSTIN       J             VAUGHN
12             1524   NOLEN        CRUZ          VAZQUEZ
13             1525   GILBERT                    VAZQUEZ
               1526   ALLAN        RAZIEL        VEGA
14             1527   MARY         E             VELA
15             1528   XAVIER                     VELARDE
               1529   PETER                      VENEZIALE
16
               1530   JOSEPH                     VENTURA
17             1531   FRANKI                     VERDI-MCGHEE
               1532   DAVID        MARK          VERDUGO
18
               1533   GRICELDA                   VERDUGO
19             1534   MARK         A             VERDUZCO
               1535   LARRY        BAKER         VEST
20
               1536   KIMBERLY     KAY           VICKERMAN
21             1537   KENNETH                    VICKOREN

22             1538   KENNETH                    VICKOREN
               1539   RAUL                       VILLA RIOS
23             1540   CHRISTIAN    ALEXIS        VILLANUEVA

24             1541   GIANNI                     VILLAREAL LAGUNA
               1542   MICHAEL      EDWARD        VINCENT
25             1543   CESAR                      VINCENTE (ADRIAN)

26             1544   YOKHY                      VIRAPHANDETH
               1545   ALEXANDER                  VOIGHT
27             1546   WILLIAM      JOHN          VOIGT
28             1547   TERENCE                    VON ROBERTS         JR



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               1548   PAUL         KOLA          VULAJ
 1
               1549   NIKOLA                     VULIN
 2             1550   THOMAS       MARK          WAKEFIELD
               1551   RICKY                      WALDROP
 3
               1552   BRANDON      KYLE          WALKER
 4             1553   PATRICE                    WALKER
               1554   LATRICE                    WALKER
 5
               1555   MATTHEW                    WALKER
 6             1556   CECILIA      M             WALKER

 7             1557   GERALD       DWANE         WALKER
               1558   CHRISTIAN                  WALL
 8             1559   CHRISTAN                   WALL

 9             1560   MARLENE                    WALLACE
               1561   STEVE                      WALTERS
10             1562   GERALD                     WALTERS

11             1563   JASON        MATHEW        WAMBLE
               1564   TERRI        LYNN          WAMPLER
12             1565   DAVE         RUSSELL       WARD
13             1566   BRYON        ALLEN         WARREN
               1567   BRYAN                      WARREN
14             1568   VANESSA                    WARREN
15             1569   ANGELO       A             WASHINGTON
               1570   FEDERICO                   WATANABE
16
               1571   EMELYNE                    WATCHMAN
17             1572   JEFFERY      L             WATERS
               1573   MARTEL       HOSEA         WATKINS
18
               1574   ERIC         EUGENE        WATTS
19             1575   WISE,                      WAYNE
               1576   CLARY        HILTON        WEBBER
20
               1577   DILLON       FORREST       WEBSTER
21             1578   CAMERON      MARK          WEBSTER

22             1579   CAMERON                    WEBSTER           JR
               1580   BRIAN                      WECHSLER
23             1581   DAVID        ALEXIS        WELLINGTON

24             1582   DAVID                      WELLINGTON
               1583   RONALD       E             WELLS
25             1584   JAMES        RICHARD       WEST

26             1585   MYRON        LEON          WESTBROOKS
               1586   ANASTASIA    MARIE         WHALEY
27             1587   MARK         MAURICE       WHITAKER
28             1588   CYNTHIA      LYNN          WHITE



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               1589   RAYMOND      TERRY         WHITE
 1
               1590   ANTHONY                    WHITE
 2             1591   CYNTHIA                    WHITE
               1592   KELLY        ANN           WHITE
 3
               1593   MOSES                      WHITE             JR
 4             1594   WILLIAM      OLIVER        WHITEMAN

 5             1595   BILL         W             WHITEMAN
               1596   ROY          MARCOS        WHITLOW
 6             1597   ROY          MARCOS        WHITLOW

 7             1598   CAMERON      RAPHAEL       WHITMORE
               1599   CARL         DUANE         WIEBE
 8             1600   CARL                       WIEBE
                                   ORTEZ
 9             1601   AVERY
                                   CANTRELLE
                                                 WILKS

10             1602   ANGELINA                   WILLDEN
               1603   DEWOYNE                    WILLIAMS
11             1604   YVETTE       CRUZ          WILLIAMS          SR

12             1605   BRIAN        DONALD        WILLIAMS
               1606   ROBERT       JAMES         WILLIAMS
13             1607   HOWARD       LARRY         WILLIAMS

14             1608   HENRY        LEE           WILLIAMS
               1609   STEVEN       OWEN          WILLIAMS
15             1610   GERALD                     WILLIAMS
16             1611   BRIAN                      WILLIAMS
               1612   SHANYRAH     DENISE        WILLIAMS
17             1613   ALIESHA      ANN           WILLINGHAM
18             1614   BRENDA       LEE           WILLNER           IV
               1615   CHERISE                    WILSON
19
               1616   KIMALA       DAWN          WILSON-PROCTOR
20             1617   ANGELA       R             WINFIELD
               1618   WILLIAM                    WINROW
21
               1619   WAYNE        JARRETT       WISE
22             1620   EDWARD       WADE          WISE
               1621   NICHOLE      ANN           WITT
23
               1622   DIRK         L.            WITTER
24             1623   ZACHARY      OTIS          WIXSON

25             1624   TIMOTHY      JAMES         WOODGEARD
               1625   JERAD                      WOODLY
26             1626   BOYD         LEON          WORTHEN

27             1627   GEORGE       A             WRIGHT
               1628   BRADLEY      ANDREW        WRIGHT            III
28

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               1629   MARK          EUGENE       WRONA
 1
               1630   DENNIS        JAMES        WYLIE
 2             1631   MICHAEL       KARL         XAVIER
               1632   MATHEW        JOSEPH       YAEGGI
 3
               1633   GEMMA                      YAP
 4             1634   YUSUF         TIYARI       YARBROUGH
               1635   TAMARA        LYNN         YATES
 5
               1636   JULIAN        MONTIJO      YEPIZ
 6             1637   TIMOTHY       JAMES        YINGLING

 7             1638   SHATHA                     YOUKHANA
               1639   SHATHA                     YOUKHANA
 8             1640   JIMMY         VALENCIA     YOUNG

 9             1641   RODRIGUEZ                  YUDELKA
               1642   OSCAR         BRIZUELA     ZALAYA
10             1643   OSCAR                      ZAMORA

11             1644   JUAN                       ZAZUETA
               1645   ADAM          JAMES        ZIEDENWEBER
12             1646   CRAIG         MARTIN       ZUCHELKOWSKI
13             1647   CHRISTOPHER   JOSEPH       ZUIKER
               1648   THOMAS        E            ZUNIGA              JR
14             1649   JAMES         T            ZUZU
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 1                         CERTIFICATE OF SERVICE (CM/ECF)
 2
           I hereby certify that on this 5th day of April, 2019, I electronically filed the
 3
   foregoing FIRST AMENDED COMPLAINT FOR INJUNCTIVE RELIEF AND TO
 4 RECOVER AMOUNTS DUE UNDER THE FAIR LABOR STANDARDS ACT with
   the Clerk of the Court using the CM/ECF system which will send notification of such
 5 filing to the following e-mail addresses:
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      Case No. 16-cv-04499-PHX-DLR
